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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )       4:04CR3007
                                            )
      Plaintiff,                            )
                                            )
vs.                                         )       MEMORANDUM AND ORDER
                                            )
TINA LUCAS,                                 )
                                            )
      Defendant.                            )

      The government has filed a Motion Pursuant to Rule 35(b), filing 73. Accordingly,

      IT IS ORDERED that:

      1.      Counsel for the government shall notify the court when the motion pursuant to
              Rule 35(b), filing 73, is ripe for decision. The motion shall not be decided until
              counsel for the government certifies that the motion is at issue;

      2.      Counsel for the defendant, if previously appointed pursuant to the Criminal
              Justice Act, is reappointed to represent the defendant for purposes of the Rule 35
              (b) motion. If retained, counsel for the defendant remains as counsel for the
              defendant until the Rule 35(b) motion is resolved or until given leave to withdraw;

      3.      The Federal Public Defender shall provide CJA counsel with a new voucher;

      4.      The Clerk of the Court shall mail a copy of this order to the Federal Public
              Defender.

      Dated August 22, 2005.

                                    BY THE COURT


                                    s/ Warren K. Urbom
                                    United States Senior District Judge
